            Case 2:99-cr-00433-WBS-AC Document 1553 Filed 09/23/11 Page 1 of 2




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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                           No. CR S-99-0433 WBS GGH P

12           vs.

13   SON VAN NGUYEN,

14                  Movant.                               ORDER

15                                               /

16                  By stipulation and order, filed on June 9, 2011, petitioner’s amended motion

17   pursuant to 28 U.S.C. § 2255, was due to be filed on June 27, 2011, with the government’s

18   answer due thirty days later. Although signed by movant’s counsel and dated as filed on June 27,

19   2011, the amended § 2255 motion was dated in the court’s electronic docket system as filed a day

20   later, on June 28, 2011. In any event, the court hereby deems any tardiness in filing the amended

21   motion de minimis in this instance; however, the undersigned notes that respondent has failed to

22   file a response and the time for doing so has long expired.

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           Case 2:99-cr-00433-WBS-AC Document 1553 Filed 09/23/11 Page 2 of 2




 1                  Accordingly, IT IS ORDERED that the government show cause for its failure to

 2   file a timely response to movant’s amended § 2255 motion (docket # 1548), as well as file its

 3   response to the amended motion, within seven days of the date of its order.

 4   DATED: September 22, 2011

 5                                                 /s/ Gregory G. Hollows
                                                  UNITED STATES MAGISTRATE JUDGE
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     GGH:009
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